IN THE COURT OF CRIMINAL APPEALS OF THE STATE OF OKLAHOMA

LidDc—vwidek

HARRY GA $4454 pf, rape
BSS CERCA, R LDF -Feticames
Appellant, NOT FOR PUBLICATION (¥ / fy
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THE STATE OF OKLAHOMA, FILED

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Vv. ) Case No. F-2014-312
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)
} IN COURT OF CRIMINAL APPEALS

Appellee: STATE OF OX).AHOMA
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SUMMARY OPINION JUL 25 201s
, MICHAEL S. RICHIE
JOHNSON, JUDGE: CLERK

Appellant Harry Garcia was tried by jury in the District Court of
Oklahoma County, Case No. CF-2013-2987, and convicted of Murder in the
First Degree, in violation of 21 O.S.2011, § 701.7. The jury assessed
punishment at life imprisonment with the possibility of parole. The Honorable
Ray C. Elliott, who presided at trial, sentenced Garcia accordingly.! Garcia
appeals, raising the following issues:

(1) whether the trial court’s refusal to instruct the jury on his theory
of defense violated his fundamental right to present a defense and

right to due process.
(2) whether the evidence was sufficient to support his conviction;

(3) whether the trial court’s refusal to instruct the jury on the lesser
related offense of second degree murder violated his right to due
process and requires reversal; and

(4) whether the cumulative effect of all the errors deprived him of a
fair trial and warrants a new trial or a sentence modification.

*Under 21 O.S.2011, § ‘13.1, Garcia must serve 85% of the sentence imposed before he is
eligible for parole.
“Case 5:24-cv-00341-R Document 1-3 Filed 04/05/24 Page 2 of 3

We find reversal is not required and affirm the Judgment and Sentence
of the district court.

i.

Because the evidence presented at trial did not support the requested
defense instructions there was no error in the trial court’s refusal to give the
requested instructions. See Barnett v. State, 2011 OK CR 28, 4 6, 263 P.3d
959, 962; Grissom v. State, 2011 OK CR 3, § 35, 253 P.3d 969, 982.

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Any rational trier of fact could find beyond a reasonable doubt that
Garcia committed the crime of first degree murder based on the evidence
presented in this case. See Logsdon v. State, 2010 OK CR 7, § 5, 231 P.3d
1156, 1161; Spuehler v. State, 1985 OK CR 132, ¥ 7, 709 P.2d 202, 203-204.
The evidence was sufficient to sustain Garcia’s conviction.

3.

The evidence presented at trial did not support the requested
instructions on the lesser offense of second degree murder. There was no error
in the trial court’s decision not to give these instructions. Jones v. State, 2005

OK CR 17, $ 6, 134 P.3d 150, 154.
4,
There are no errors, considered individually or cumulatively, that merit

relief in this case. Jones v. State, 2009 OK CR 1, J 104, 201 P.3d 869, 894;
Case 5:24-cv-00341-R Document 1-3 -Fited-64/05/24 Page 3 of 3

DeRosa v. State, 2004 OK CR 19, q 100, 89 P.3d 1124, 1157. This claim is

denied.

DECISION

The Judgment and Sentence of the district court is AFFIRMED.

Pursuant to Rule 3.15, Rules of the Oklahoma Court of Criminal Appeals, Title

22, Ch. 18, App. (2014), the MANDATE is ORDERED issued upon delivery and

filing of this decision.

AN APPEAL FROM THE DISTRICT COURT OF OKLAHOMA COUNTY
THE HONORABLE RAY C. ELLIOTT, DISTRICT JUDGE

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OPINION BY: JOHNSON, J.
SMITH, P.J.: Concur
LUMPKIN, V.P.J.: Concur
LEWIS, J.: Concur
HUDSON, J.: Concur

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